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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

EDDIE HUMES, SR.                                                                    PLAINTIFF

v.                               Case No. 4:20-cv-00479-LPR-JTR

WHITE COUNTY, ARKANSAS,
A Public Body Corporate and Politic, et al.                                      DEFENDANTS


                                            ORDER

       The Court has received a Partial Recommended Disposition from Magistrate Judge J.

Thomas Ray. No objections have been filed, and the time to do so has now passed. After careful

review of the Partial Recommended Disposition and the record, the Court concludes that the Partial

Recommended Disposition should be, and hereby is, approved and adopted as this Court’s findings

in all respects except for one minor, technical alteration. A grant of summary judgment is a ruling

on the merits. Thus, instead of dismissing the claims against Shawna Chassity Hall, judgment will

be entered in her favor at the appropriate time under Federal Rule of Civil Procedure 54. As of

the date of this Order, the claims against Shawna Chassity Hall may not move forward.

       IT IS THEREFORE ORDERED that Defendant Shawna Chassity Hall’s Motion for

Summary Judgment (Doc. 23) is GRANTED. A corresponding Judgment will be entered in Ms.

Hall’s favor at the appropriate time under Federal Rule of Civil Procedure 54.

       IT IS SO ORDERED this 11th day of January 2021.



                                                     ________________________________
                                                     LEE P. RUDOFSKY
                                                     UNITED STATES DISTRICT JUDGE
